Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.526 Filed 04/09/24 Page 1 of 25




                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 ELIZABETH NELSON and                             Case No. 23-11597
 ALBERT THROWER,
      Plaintiffs,                                 Brandy R. McMillion
      v.                                          United States District Judge

 ROBERT SCOTT, et al.,                            Curtis Ivy, Jr.
      Defendants.                                 United States Magistrate Judge
 ____________________________/


 REPORT AND RECOMMENDATION ON DEFENDANTS’ MOTION TO
     DISMISS AND FOR SUMMARY JUDGMENT (ECF No. 35)


I.    PROCEDURAL HISTORY

      Plaintiffs Elizabeth Nelson and Albert Thrower filed this case on July 5,

2023. (ECF No. 1). The operative amended complaint was filed on August 25,

2023. (ECF No. 29). Defendants Badalamente, Cummins, Dwyer, Fourts, Gauss,

Kijewski, Lipa, Michaels, Murph, Reichling, Ross, Scott, Trembath, Warack, the

City of Warren, and City of Warren zoning department moved to dismiss the

amended complaint and for summary judgment. (ECF No. 35). The motion is

fully briefed. This matter was referred to the undersigned for all pretrial matters.

(ECF No. 44).

      For the reasons discussed below, the undersigned recommends that the

motion to dismiss be GRANTED.
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.527 Filed 04/09/24 Page 2 of 25




II.    AMENDED COMPLAINT ALLEGATIONS

       This lawsuit is about a search of Plaintiffs’ residential building located in

Warren, Michigan, and about the City of Warren towing Nelson’s cars that were

parked on the property. At the time of the alleged events, Thrower was trying to

evict tenant Kimberly Branson, who occupied the upper level of the Warren

property, but the eviction was stayed beginning in March 2020 because of the

Covid-19 pandemic. (ECF No. 29, PageID.87, 91). Thrower told Branson that

she was only allowed in the basement for emergency purposes. While they

primarily resided in Ohio, Nelson and Thrower used the basement as their

residence (Id. at PageID.89). On March 11, 2020, Branson used her key to the

basement and allowed Defendants Scott, Cummins, Gauss, Badalemente, Kijewski,

Murphy, Warack, Lipa, and Ghaham to enter it. These Defendants did not have a

search warrant and despite the ongoing pandemic did not wear a mask inside the

premises. (Id. at PageID.90). Plaintiffs assert that Branson allowed the

Defendants in the basement because she was a “secret informant” for the City of

Warren. (Id. at PageID.90). Plaintiffs learned of Defendants’ search of the

residence on April 23, 2020.1 (Id. at PageID.91).




       1
         Plaintiff’s wrote “4/23.” Read in context, they did not mean that they found out about
the search during April 2023; rather, they became aware on April 23, 2020.

                                                2
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.528 Filed 04/09/24 Page 3 of 25




         On July 7, 2021, Judge Chumra of the 37th District Court issued a warrant

to tow vehicles on Plaintiff’s property. The warrant authorized towing of

“inoperable vehicles.” (Id. at PageID.93). Two vehicles were towed from the

property that day, but according to Plaintiffs they were towed before Judge

Chumra’s order was issued. The same day Defendant Scott wrote a ticket for

having an unsafe structure for human habitation at Plaintiff’s and Branson’s

Warren residence. (Id.). Some Defendants removed Plaintiffs’ property that

included grills, wood, and drainage piping, and charged Plaintiffs $687.50 for

“illegally” taking that property. (Id. at PageID.94).

         On July 8, 2021, Thrower went to the tow yard to retrieve the vehicles.

Defendant Hertz stalled Thrower while Defendant Scott was on his way to the tow

yard. When Scott arrived, he threw Thrower against the wall and conducted a

citizen’s arrest for the unsafe structure-for-habitation ticket. (Id. at PageID.94-95).

While restraining him, Scott searched through Thrower’s bag. (Id. at PageID.95).

Thrower alleges that Scott lacked authority to conduct a citizen’s arrest for a

misdemeanor charge. Warren police then arrived but did not arrest Scott for

kidnapping; instead they arrested Thrower on the misdemeanor housing violation.

(Id.).

         The claims are as follows. Claim One alleges that Scott, Gauss, Cummins,

Badalamente, Kijewski, Lipa, Murphy, Warack, Michaels, Trembeth, and Ross


                                           3
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.529 Filed 04/09/24 Page 4 of 25




violated the Fourth and Fourteenth Amendments by illegally entering the basement

apartment without a search warrant or other authority. (Id. at PageID.97). In

Claim Two, Plaintiffs assert that those same Defendants entered the property

without wearing masks or gloves, thereby exposing Plaintiffs to a “state created

risk” of contracting Covid-19 in violation of the Fourth, Fifth, and Fourteenth

Amendments. (Id.). Claim Three alleges that towing the vehicles on July 7, 2021,

violated the Fourth, Fifth, and Fourteenth Amendments because both cars were

operable and Plaintiffs were not given notice and an opportunity to be heard before

the cars were taken. (Id. at PageID.97-98). Claim Four says that Scott violated the

Constitution by conducting a citizen’s arrest, restraining Thrower and spitting on

him which exposed Thrower to Covid-19. (Id. at PageID.98). Claim Five alleges

that Scott’s actions during the alleged arrest constituted assault, battery, and

kidnapping. (Id.). In Claim Six, Plaintiffs stated that the Defendants’ actions as

stated in the complaint exposed them to a state created risk because they had to

retrieve the towed vehicles during a pandemic. (Id. at PageID.99). Finally, in

Count Seven, Plaintiffs assert that “Per facts rewritten herein intentional infliction

of emotional distress.” (Id.).

III.   ANALYSIS AND RECOMMENDATIONS

       A.    Governing Standards




                                           4
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.530 Filed 04/09/24 Page 5 of 25




      When deciding a motion to dismiss under Rule 12(b)(6), the Court must

“construe the complaint in the light most favorable to plaintiff and accept all

allegations as true.” Keys v. Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012). “To

survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (internal quotation omitted); see also Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007) (concluding that a plausible claim

need not contain “detailed factual allegations,” but it must contain more than

“labels and conclusions” or “a formulaic recitation of the elements of a cause of

action”). Facial plausibility is established “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility of an

inference depends on a host of considerations, including common sense and the

strength of competing explanations for the defendant's conduct.” 16630 Southfield

Ltd., P’Ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 503 (6th Cir. 2013).

      The Court holds pro se complaints to “less stringent standards than formal

pleadings drafted by lawyers.” Haines v. Kerner, 404 U.S. 519, 520 (1972). Yet

even in pleadings drafted by pro se parties, “‘courts should not have to guess at the

nature of the claim asserted.’” Frengler v. Gen. Motors, 482 F. App’x 975, 976-77

(6th Cir. 2012) (quoting Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989)).


                                            5
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.531 Filed 04/09/24 Page 6 of 25




“[C]ourts may not rewrite a complaint to include claims that were never presented

... nor may courts construct the Plaintiff’s legal arguments for him. Neither may

the Court ‘conjure up unpled allegations[.]’” Rogers v. Detroit Police Dept., 595

F. Supp. 2d 757, 766 (E.D. Mich. 2009) (Ludington, J., adopting report and

recommendation of Binder, M.J.); see also, Evans v. Mercedes Benz Fin. Servs.,

LLC, No. 11-11450, 2011 WL 2936198, at *2 (E.D. Mich. July 21, 2011) (Cohn,

J.) (“Even excusing plaintiff’s failure to follow Rules 8(a)(2) and 10(b), a pro se

plaintiff must comply with basic pleading requirements, including Rule

12(b)(6).”).

      B.       Discussion

      Some background on Plaintiffs’ prior litigation is necessary before

addressing Defendants’ motion. Plaintiffs sued many of the same defendants in a

2022 lawsuit challenging the towing of four vehicles during May 2020 from the

same property. See Case No. 22-10918. That case was dismissed following

motions to dismiss and for summary judgment being granted. Defendants here

point to the similarity of the claims in the cases to argue that this lawsuit should

also be dismissed. (ECF No. 35). Some claims are similar, such as Plaintiffs’

claims that defendants exposed them to Covid-19. But the claims are different

enough that the undersigned does not rely on the 2022 case here.

               1.   Thrower’s Pro Se Status


                                           6
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.532 Filed 04/09/24 Page 7 of 25




      At the outset of their brief, Defendants assert that the Court should not give

Thrower’s complaint the same latitude it would other pro se complaints because

Thrower is an experienced litigator having filed many lawsuits here and in Ohio,

and in some courts is banned from filing lawsuits without leave because of the

frivolous and vexatious nature of his claims. (ECF No. 35, PageID.173-75).

      The undersigned will evaluate the complaint under the Fed. R. Civ. P.

12(b)(6) standards and will give due consideration to the fact that Plaintiffs are

unrepresented. This means that that undersigned holds the complaint to less

stringent standards, but it does not mean that the undersigned will plead facts for

the Plaintiffs to support conclusory allegations.

               2.   Covid-19 and State Created Danger

      Defendants argue that the claims related to exposing Plaintiffs to Covid-19,

by entering the residence without masks and forcing them to go the tow yard

during the pandemic, should be dismissed for failure to state a “state created

danger” claim. The undersigned agrees that the claims should be dismissed for

two reasons.

      First, Defendants are correct that Plaintiffs did not state a viable claim. The

“state created danger” doctrine is a substantive due process claim that can provide

for holding a government actor liable for injury to a private person. To succeed on

the claim, the plaintiff must show “(1) an affirmative act by the governmental actor


                                          7
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.533 Filed 04/09/24 Page 8 of 25




either created or increased the risk that the plaintiff would be exposed to the

injurious conduct of the private person; (2) the governmental actor’s act especially

endangered the plaintiff or a small class of which the plaintiff was a member; and

(3) the governmental actor had the requisite degree of culpability.” Hunt v.

Sycamore Cmty. Sch. Dist. Bd. of Educ., 542 F.3d 529, 534 (6th Cir. 2008)

(citation omitted). Plaintiffs’ claims cannot succeed because their allegations do

not show that any of the Defendants especially endangered their safety. And

importantly, as Defendants note, they did not create the pandemic and the dangers

of the virus were not limited to just Plaintiffs. (ECF No. 35, PageID.189).

       The second reason why this claim fails is Plaintiffs lack standing. 2 This

issue is the basis for dismissing similar claims in the 2022 lawsuit. As stated there,

“[t]o have Article III standing to sue in federal court, plaintiffs must demonstrate,

among other things, that they suffered a concrete harm. No concrete harm, no

standing.’’ Transunion LLC v. Ramirez, 594 U.S. 413, 417 (2021). Despite

Plaintiffs’ allegations about being at risk for Covid-19 complications, they do not

allege that they caught the virus while in Michigan. Had they, the claim would still

fail because placing the blame on Defendants’ conduct, in the early days of the

global pandemic, is too tenuous.


       2
         Because the standing issue goes to this Court’s subject matter jurisdiction, it can be
raised sua sponte. Loren v. Blue Cross & Blue Shield of Mich., 505 F.3d 598, 607 (6th Cir.
2007).

                                                 8
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.534 Filed 04/09/24 Page 9 of 25




             3.     Defendants City of Warren, Dwyer, Fouts, and Reichling

      Defendants City of Warren, Dwyer, Fouts, and Reichling argue they should

be dismissed because Plaintiffs pleaded no facts establishing that they violated a

federal or state law. They point out that Plaintiffs use the universal “Defendants”

to attempt to state claims against all defendants, but made no specific, non-

conclusory allegations against them. Plaintiffs did not address this argument in

response.

      It is true that Plaintiffs did not name either of these defendants in Counts

One through Five of the amended complaint. In Count Six, Plaintiffs stated that

“Defendants” actions exposed them to a State Created Danger. (ECF No. 29,

PageID.99). The undersigned has already recommended that the “state created

danger” claims be dismissed. Count Seven, for intentional infliction of emotional

distress, names no Defendants, so presumably it is addressed to all Defendants.

      Allegations that reference these defendants by name are conclusory.

Plaintiffs allege that the City of Warren “is being sued for ‘failure to train’ [its]

employees.” (ECF No. 29, PageID.88). To successfully sue a municipality for

failure to train, Plaintiffs needed to address the “adequacy of the training program

in relation to the tasks the particular officers must perform.” City of Canton v.

Harris, 489 U.S. 378, 390 (1989). There are no such allegations in the complaint.

The City of Warren should be dismissed.


                                            9
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.535 Filed 04/09/24 Page 10 of 25




      They allege that Warren Mayor Fouts acted in conspiracy with the other

individual defendants to violate Plaintiff’s constitutional rights. (ECF No. 29,

PageID.87). To state a conspiracy claim under § 1983, a plaintiff must show, not

merely conclude: (1) a single plan, (2) that the alleged co-conspirator shared in the

general conspiratorial objective, and (3) that an overt act was committed in

furtherance of the conspiracy that deprived the plaintiff of his or her civil

rights. Hooks v. Hooks, 771 F.2d 935, 943-44 (6thCir. 1985). Merely stating that

the defendant was part of a conspiracy to violate the plaintiff’s rights does not

satisfy the pleading standards and fails to state a conspiracy claim. Plaintiffs also

allege that Fouts issued an emergency declaration on February 20, 2020, about

Covid-19. (Id. at PageID.90). This fact does not establish any wrongdoing. They

later allege that Fouts issued a news release about bad landlords, which Plaintiffs

allege is part of the conspiracy. (Id. at PageID.96). This allegation does not state a

conspiracy claim, nor does the issuance of a news release, without more facts,

establish entitlement to any relief. Fouts should be dismissed.

      Defendant Warren Police Commissioner Dwyer is included in the same

conclusory statements about being part of a conspiracy to violate Plaintiffs’ rights;

the conspiracy claim should be dismissed. (Id. at PageID.87). Plaintiffs also state

that Dwyer was among ten other defendants who failed to find out about whose

cars were parked at the property on July 7, 2021, or whether the cars were


                                          10
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.536 Filed 04/09/24 Page 11 of 25




operable. (Id. at PageID.96). First, it is unclear how failure to discover the

ownership of the vehicles entitles Plaintiffs to relief considering their claim is that

the order permitting taking the cars specified that only inoperable cars could be

taken. Second, the allegation against the Commissioner of the Warren Police

Department that he failed to figure out whether the vehicles were operable appears

to be a claim that he violated the order to tow inoperable vehicles. As much as this

is a federal claim, it sounds in supervisory liability. Plaintiffs allege that Dwyer is

sued in his individual capacity for failure to train his police officers. (Id. at

PageID.88-89). This assertion not only lacks factual support about a faulty

training program, but it also appears to be an attempt to sue Dwyer for the actions

of his subordinates. To establish supervisory liability, a plaintiff must establish

that the supervisory official “encouraged the specific incident of misconduct or in

some other way directly participated in it.” Phillips v. Roane Cnty., 534 F.3d 531,

543 (6th Cir. 2008) (citation and quotation marks omitted). There are no such

allegations in the amended complaint. Dwyer should be dismissed.

      Plaintiffs mention that Fouts and Dwyer, as policymakers, had a custom and

policy of violating constitutional rights in their response brief. (See, e.g., ECF No.

40, PageID.407). Even if the allegations made for the first time in the response

brief were sufficient to state a claim to relief, which they are not, statements in a

response brief are not part of the complaint and are not considered here.


                                           11
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.537 Filed 04/09/24 Page 12 of 25




See Johnson v. Metro. Gov’t of Nashville & Davidson Cnty., Tenn., 502 F. App’x

523, 541-42 (6th Cir. 2012) (“The court may not . . . take into account additional

facts asserted in a memorandum opposing the motion to dismiss, because such

memoranda do not constitute pleadings under Rule 7(a).”) (citation omitted).

      Lastly, as to Defendant Captain Reichling, Plaintiffs allege he participated in

the conspiracy with all other defendants, he was at the scene when the two cars

were towed and, like Dwyer, he did not nothing to ascertain the ownership of the

cars. (ECF No. 29, PageID.87, 89, 96). As mentioned, the conspiracy allegation is

conclusory. Riechling’s presence at the scene and failure to learn of ownership,

without more, does not illuminate a claim to relief under the Fourth or Fourteenth

Amendments. To the extent that Plaintiffs seek to hold Reichling responsible for

the actions of subordinates, these allegations are insufficient as explained above.

Reichling should be dismissed.

             4.    Entry Into Plaintiffs’ Basement Residence – Claim Two

      Plaintiffs allege that the remaining Defendants’ search of the basement

residence at Thrower’s property without a warrant on March 11, 2020, violated the

Fourth and Fourteenth Amendments. In the opening brief, Defendants argue that

this claim is time barred. Plaintiffs alleged they found out about the search on

April 23, 2020, but filed the lawsuit on July 5, 2023, beyond the statute of

limitations. (ECF No. 35, PageID.185-86).


                                         12
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.538 Filed 04/09/24 Page 13 of 25




      Plaintiffs’ response brief moves between claims and arguments without

much structure, making it difficult to understand their response to Defendants’

motion. That said, in their response, Plaintiffs argue that the search was illegal—

they did not give permission to enter the basement residence and Defendants did

not obtain an administrative warrant to enter the property. (ECF No. 40,

PageID.406-07). Next, they state that Thrower did not learn of the illegal entry

until May 22, 2020, and Nelson did not become aware until June 22, 2020. (Id. at

PageID.410). They contend that the “covid tolling statute” in effect from March

10, 2020, through June 22, 2020, tolled the three-year statute of limitations by 102

days. (Id. at PageID.412-13). Thus, they posit that the statute of limitations began

to run on June 22, 2020. But then they contend that the discovery rule would apply

to toll the statute further. Contrary to their earlier representations, Plaintiffs now

say they found out about the illegal entry on August 21, 2020. (Id. at PageID.413).

This would make their July 5, 2023, timely. They also appear to assert that the

continuing violations doctrine applies as well. (Id. at PageID.415).

      In reply, Defendants argue that even if the Michigan Supreme Court’s

Administrative Order tolling limitations periods for Covid-19 applied to the claims,

it would only toll the claim until June 21, 2023, so the July 5, 2023, complaint is




                                           13
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.539 Filed 04/09/24 Page 14 of 25




untimely.3 (ECF No. 43, PageID.518). Defendants did not address the

inconsistency in Plaintiffs’ argument about when they discovered the allegedly

illegal entry. They next argue that even if the claim is not time-barred, it should be

dismissed for failure to state a claim. They insist that the tenant’s consent to the

search was sufficient to permit them entrance into the residence without a warrant.

(Id. at PageID.518-19).

       The undersigned will first address the argument, raised in reply, that the

warrantless search was lawful because the co-tenant gave permission and entrance

into the basement residence. It is dubious whether the Court can even consider this

argument given that it was raised for the first time in reply to arguments about the

statute of limitations. Plaintiffs had no chance to respond to this argument. As a

general rule, issues raised for the first time in a reply brief are waived. Scottsdale

Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th Cir. 2008). But even if the Court were

to consider the argument, which it is not, it would be a losing one.

       “To the Fourth Amendment rule ordinarily prohibiting the warrantless entry

of a person’s house as unreasonable per se, one ‘jealously and carefully drawn’

exception recognizes the validity of searches with the voluntary consent of an



       3
          The Michigan Supreme Court issued administrative orders tolling all Michigan statutes
of limitations for 102 days during the COVID-19 pandemic in 2020. See Carter v. DTN Mgmt.
Co., 2023 WL 439760, at *3 & n.2 (Mich. Ct. App. Jan. 26, 2023) (discussing the Michigan
Supreme Court’s tolling orders and noting that they excluded the counting of days starting on
March 10, 2020, until June 20, 2020).

                                              14
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.540 Filed 04/09/24 Page 15 of 25




individual possessing authority.” Georgia v. Randolph, 547 U.S. 103, 109 (2006)

(quoting Jones v. United States, 357 U.S. 493, 499 (1958)) (internal citations

omitted). A co-occupant who shares common authority over the premises to be

inspected can grant consent for a search of that area. Id. This means that persons

who share living space may consent to a search of common areas in the home, but

may not consent to the search of the other occupant’s private space, such as a

bedroom. See United States v. Tapia-Rodriguez, 968 F.3d 891, 895 (8th Cir. 2020)

(“But a co-tenant’s unrestricted consent to search leased property will not justify a

warrantless search of a room ‘set aside for [the defendant’s] own private use.’”)

quoting United States v. Heisman, 503 F.2d 1284, 1288 (8th Cir. 1974) (reversing

conviction because, viewed objectively, the consenting co-tenant did not have

“joint access or control” over defendant's room)).

      Considering the complaint allegations as true, Plaintiffs’ note that the tenant

knew she could only access the basement in an emergency.

      Defendants’ reliance on Georgia, 547 U.S. at 109, as a case factually

analogous to the allegations raised here is misplaced. There, a co-occupant

consented to search the premises without a warrant, but the other occupant was

also present and declined consent to the search. The officers searched the property

anyway. That search was held to be invalid as to the non-consenting occupant. Id.

at 120. That is not what happened here, according to Plaintiffs. Plaintiffs’ absence


                                          15
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.541 Filed 04/09/24 Page 16 of 25




from the house did not give the co-occupant authority over the entire premises. So

Defendants’ argument that they had authority to conduct the warrantless search is

not well taken.

       Turing to the statute of limitations, Michigan has a three-year statute of

limitations for claims brought under 42 U.S.C. § 1983. This statute of limitations

applies to the Fourth and Fourteenth Amendment claims. The statute of limitations

was tolled in Michigan between March 10, 2020, and June 20, 2020. See

Gottsleben v. Informa Media, Inc., 2023 WL 4397226, at *3 (W.D. Mich. July 7,

2023). Plaintiffs’ unlawful search claim would begin to be counted, at the earliest,

on June 21, 2020. A claim that accrued during June 2020 needed to be filed in

June 2023, so Plaintiffs’ July 5, 2023, complaint would be untimely.

       Defendants did not address Plaintiffs’ changing facts in their response brief.

For the first time in their brief, they said they learned of the unlawful search not in

April 2020, but in August 2020. (ECF No. 40, PageID.413). Plaintiffs did not

explain the change in story from the amended complaint. 4 As stated above,

allegations made in a response brief are not part of the complaint and cannot be

considered as facts establishing a claim. Plaintiffs were on notice that their

amended complaint states they became aware of the search in April 2020, yet did



       4
       They also did not mention the search of the basement residence in their affidavits.
(ECF No. 40, PageID.465-69).

                                               16
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.542 Filed 04/09/24 Page 17 of 25




not move to amend the complaint to change the allegation.5 Plaintiffs’ litigation

history gives the Court confidence that they are aware of the procedures for

amending their complaint as they have successfully done so often.

       Because their amended complaint alleges that they became aware of the

search in April 2020, the limitations period began to run at the expiration of the

Covid-19 tolling period in June 2020. The continuing violations doctrine does not

save the claim. “A continuing violation is occasioned by continual unlawful acts,

not continual ill effects from an original violation.” Broom v. Strickland, 579 F.3d

553, 555 (6th Cir. 2009) (punctuation modified). The allegedly unlawful search in

March 2020 and the allegedly illegal seizure of vehicles in July 2021 are not

continual unlawful acts. Plaintiff’s July 2023 complaint about the unlawful search

is time-barred, and the claim should be dismissed.

               5.     Towing Operable Vehicles – Claim Three

       In Claim Three, Plaintiffs allege that Defendants Scott, Gauss, Cummins,

Badalamente, Kijewski, Warack, Murphy, Lipa, Michaels, Trembeth, and Ross

unlawfully towed their two vehicles from the property on July 7, 2021. This

instance of towing the vehicles was allegedly unlawful because the court order to




       5
         They assert that they sought to amend their complaint in their earlier case at Case No.
22-10918 to add the unlawful search claim, but review of the motions to amend does not show
that they sought to amend their complaints to add this claim or that they found out about the
search later in 2020.

                                                17
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.543 Filed 04/09/24 Page 18 of 25




tow the cars was issued after the cars were towed and it was limited to inoperable

vehicles, but both cars were operable. (ECF No. 29, PageID.97-98). Plaintiffs also

allege the order was issued without permitting them an opportunity to be heard.

(Id. at PageID.98).

      Defendants assert that is it unclear from the allegations who towed the

vehicles, who failed to give Plaintiffs notice, and who violated the July 7, 2021,

order. They contend that the lack of specific pleading does not rise the level of

plausibility, so the claim should be dismissed. (ECF No. 35, PageID.186-87).

      Plaintiffs offer little clarity on this claim in the response brief. Aside from

restating (and sometimes copying) the complaint allegations, they add that

Defendants Michaels, Trembath, and Ross conferred with non-defendant Judge

Chumra to obtain a misdemeanor warrant on July 7, 2021, and that Defendants

Reichling and Dwyer and an unknown officer ordered that the cars be towed.

(ECF No. 40, PageID.421-23). In concluding their argument, they again list

twelve defendants as responsible for towing the vehicles. (Id. at PageID.423).

      The only defendants named in Claim Three mentioned in the response are

Trembath and Michaels. For the remaining Defendants there is no articulation of

how they were involved in towing the vehicles. “When suing an individual actor .

. . for constitutional violations under § 1983, a plaintiff must demonstrate that the

actor ‘directly participated’ in the alleged misconduct, at least by encouraging,


                                          18
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.544 Filed 04/09/24 Page 19 of 25




implicitly authorizing, approving or knowingly acquiescing in the misconduct, if

not carrying it out himself.” Flagg v. City of Detroit, 715 F.3d 165, 174 (6th Cir.

2013). Indeed, “it is particularly important in such circumstances that the

complaint make clear exactly who is alleged to have done what to whom, to

provide each individual with fair notice as to the basis of the claims against him or

her, as distinguished from collective allegations against the state.” Jack-Bey v.

Michigan Dep’t of Corr., 2014 WL 1255910, at *5 (W.D. Mich. Mar. 26, 2014)

(quoting Robbins v. Oklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008) (emphasis

omitted)). True, it is not impermissible to refer to Defendants collectively in a

complaint, but generic or blanket allegations about “defendants” or lumping

defendants together, without accompanying allegations showing how each of those

defendants violated the Constitution or federal laws, is insufficient. See Rouse v.

Washington, 2021 WL 2434196, at *8 (E.D. Mich. June 15, 2021).

      Because of the manner of Plaintiffs’ pleading, it is impossible to tell

whether, for instance, it is plausible that Defendant Gauss violated the Fourth or

Fourteenth Amendment as it relates to towing the two vehicles. We do not know

what Gauss did or did not do. And while additional facts in a response brief are

not considered here, not even in the response do we learn what Gauss did or did

not do to violate Plaintiffs’ rights. At most, from the response brief, we know that

Trembath and Michaels spoke with Judge Chumra about the order to tow the


                                          19
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.545 Filed 04/09/24 Page 20 of 25




vehicles. We do not know if Trembath and Michaels were also present at the

scene, or if they knew the vehicles were towed before the order was signed, or if

they knew the vehicles were operable. Conferring with a judge about a warrant,

without more, does not violate the Constitution or federal law.

      Plaintiffs are the masters of their complaint. The Court does not create

additional allegations to save a claim in a complaint. This claim should be

dismissed without prejudice to Plaintiffs’ ability to file an amended complaint in

which they expressly allege personal involvement by the individuals named.

             6.       Claims Four and Five Against Defendant Scott

      Plaintiff Thrower alleges that Scott attempted a citizen’s arrest for

misdemeanor housing violations on July 8, 2021, and in doing so committed

assault, battery, and kidnapping, and violated the Fourth, Fifth, and Fourteenth

Amendments. More specifically, Thrower alleges that Scott restrained him, spat

on him, and went through his bag. (ECF No. 29, PageID.98). He says that Scott

told him during the interaction that he was “doing a citizens arrest.” (Id. at

PageID.95). Warren police officers arrived at the scene and arrested Plaintiff for

housing violations.

      Defendant Scott argues that the claim should be dismissed because Plaintiff

did not show the arrest was made without probable cause and because he did not

arrest Plaintiff, the Warren Police Department did. He also argues that the assault,


                                          20
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.546 Filed 04/09/24 Page 21 of 25




battery, and kidnapping claims should be dismissed because they consist entirely

of legal conclusions. (ECF No. 35, PageID.187-88).

      To begin with, the undersigned is unconvinced by Scott’s argument that the

claim fails because he was not the person who ultimately arrested Thrower. The

argument is not well-taken because the allegations establish that Scott restrained

Plaintiff, telling Plaintiff he was conducting a citizen’s arrest, and it can be inferred

he held Plaintiff until the Warren police arrived to take Plaintiff into custody. He

cites no authority to suggest that he could only be liable for his actions if he took

Plaintiff into custody.

      Plaintiff alleges that Scott’s conduct violated both federal and state law. As

to any federal violation, Plaintiff’s claim of unlawful arrest or seizure is properly

analyzed under the Fourth Amendment. See Graham v. Connor, 490 U.S. 386, 395

(1989) (“Because the Fourth Amendment provides an explicit textual source of

constitutional protection against this sort of physically intrusive governmental

conduct, that Amendment, not the more generalized notion of ‘substantive due

process,’ must be the guide for analyzing these claims.”).

      False arrest provides the framework closest to the conduct Plaintiff contests.

See Tsao v. Dessert Palace, Inc., 698 F.3d 1128, 1142 (9th Cir. 2012) (evaluating

claim of unlawful citizens’ arrest under framework for Fourth Amendment false

arrest after finding citizen arrester to be state actor). To prevail on a claim of


                                           21
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.547 Filed 04/09/24 Page 22 of 25




unlawful arrest, a plaintiff must demonstrate that the officer lacked probable cause

to arrest him or her. Halasah v. City of Kirtland, Ohio, 574 F. App’x 624, 629 (6th

Cir. 2014); United States v. Torres-Ramos, 536 F.3d 542, 554 (6th Cir. 2008)

(unreasonable seizure); Weser v. Goodson, 965 F.3d 507, 513 (6th Cir. 2020) (false

arrest). Probable cause is “reasonable grounds for belief, supported by less than

prima facie proof but more than mere suspicion.” Sykes v. Anderson, 625 F.3d

294, 306 (6th Cir. 2010).

      As Scott noted, Plaintiffs did not allege that the citizens’ arrest (or his

ultimate arrest by police officers) was affected without probable cause. What is

more, Thrower alleges his arrest by the Warren Police Department was pursuant to

misdemeanor housing violations, suggesting there was probable cause for the

arrest. See Devenpeck v. Alford, 543 U.S. 146, 153, 155 (2004) (“[The officer’s]

subjective reason for making the arrest need not be the criminal offense as to

which the known facts provide probable cause.”). In their response brief, Plaintiffs

acknowledge that there was a warrant for Plaintiff’s arrest for housing violations.

(ECF No. 40, PageID.422). Plaintiffs were on notice of the lack of allegations

about probable cause in the amended complaint, yet did not seek to amend their

complaint. So neither the allegations nor the briefing establishes that he was

arrested without probable cause. The undersigned therefore recommends that

Thrower’s federal claim about the interaction with Scott be dismissed.


                                          22
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.548 Filed 04/09/24 Page 23 of 25




             7.     Remaining State-Law Claims

      Having recommended that all the federal claims be dismissed, the

undersigned further recommends that the Court decline supplemental jurisdiction

over Plaintiffs’ state-law claims. Under 28 U.S.C. § 1367, a district judge

may decline to exercise supplemental jurisdiction over state-law claims if “the

district court has dismissed all claims over which it has original jurisdiction. . .

.” 28 U.S.C. § 1367(c)(3). “When all federal claims are dismissed before trial, the

balance of considerations usually will point to dismissing the state law claims

[.]” Musson Theatrical, Inc. v. Express Corp., 89 F.3d 1244, 1254-55 (6th Cir.

1996). Indeed, the Sixth Circuit has repeatedly advised that the district courts

should not exercise supplemental jurisdiction over state-law claims where all

original jurisdiction claims have been dismissed. See, e.g., Brown v.

Cassens Transp. Co., 546 F.3d 347, 363 (6th Cir. 2008). The undersigned

recommends Plaintiffs’ state-law claims be dismissed without prejudice.

IV.   RECOMMENDATION

      For the reasons set forth above, the undersigned RECOMMENDS that the

motion to dismiss (ECF No. 35) be GRANTED and that all federal claims be

DISMISSED, but that the claims about the allegedly unlawful seizure of the two

vehicles be DISMISSED WITHOUT PREJUDICE. The undersigned further




                                           23
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.549 Filed 04/09/24 Page 24 of 25




RECOMMENDS that the state-law claims be DISMISSED WITHOUT

PREJUDICE.

      The parties to this action may object to and seek review of this Report and

Recommendation, but are required to file any objections within 14 days of service,

as provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule

72.1(d). Failure to file specific objections constitutes a waiver of any further right

of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health and

Human Servs., 932 F.2d 505 (6th Cir. 1981). Filing objections that raise some

issues but fail to raise others with specificity will not preserve all the objections a

party might have to this Report and Recommendation. Willis v. Sec’y of Health

and Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

Teachers Loc. 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to Local Rule

72.1(d)(2), any objections must be served on this Magistrate Judge.

      Any objections must be labeled as “Objection No. 1,” “Objection No. 2,”

etc. Any objection must recite precisely the provision of this Report and

Recommendation to which it pertains. Not later than 14 days after service of an

objection, the opposing party may file a concise response proportionate to the

objections in length and complexity. Fed. R. Civ. P. 72(b)(2), Local Rule 72.1(d).

The response must specifically address each issue raised in the objections, in the

same order, and labeled as “Response to Objection No. 1,” “Response to Objection


                                           24
Case 2:23-cv-11597-BRM-CI ECF No. 46, PageID.550 Filed 04/09/24 Page 25 of 25




No. 2,” etc. If the Court determines that any objections are without merit, it may

rule without awaiting the response.

       Date: April 9, 2024.                      s/Curtis Ivy, Jr.
                                                 Curtis Ivy, Jr.
                                                 United States Magistrate Judge


                         CERTIFICATE OF SERVICE

      The undersigned certifies that this document was served on counsel of
record and any unrepresented parties via the Court’s ECF System or by First Class
U.S. mail on April 9, 2024.


                                                  s/Sara Krause
                                                  Case Manager
                                                  (810) 341-7850




                                         25
